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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
                                         )
   ULTRAVISION TECHNOLOGIES, LLC,        )
                                         )   Case No. 2:19-cv-00291-JRG-RSP
                        Plaintiff,       )   (LEAD CASE)
                                         )
            v.                           )   JURY TRIAL DEMANDED
                                         )
   HOLOPHANE      EUROPE    LIMITED,
                                         )
   ACUITY BRANDS LIGHTING DE
                                         )
   MEXICO S DE RL DE CV, HOLOPHANE,
                                         )
   S.A. DE C.V. AND ARIZONA (TIANJIN)
   ELECTRONICS PRODUCTS TRADE CO.
   LTD.,

                        Defendants.
                                         )
   ULTRAVISION TECHNOLOGIES, LLC,        )
                                         )   Case No. 2:19-cv-00398-JRG-RSP
                        Plaintiff,       )   (Member CASE)
                                         )
            v.                           )   JURY TRIAL DEMANDED
                                         )
   YAHAM OPTOELECTRONICS CO., LTD.,
                                         )
                        Defendants.      )
                                         )


   PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S RESPONSE IN OPPOSITION
                 TO YAHAM OPTOELECTRONICS CO., LTD.’S
   MOTION TO STRIKE PORTIONS OF THE EXPERT REPORTS OF ZANE COLEMAN
     AND STEPHEN E. DELL CONCERNING UNACCUSED PRODUCTS (DKT. 123)
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                  If the additional products are not included in this case, Ultravision’s only
                          option to enforce its patents against these late-discovered Yaham
                          products would be to institute a separate and additional action
                          against Yaham for infringement by these products. In a case such
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   categories identified in Ultravision’s infringement contentions. Ultravision properly identified all

   products accused in Dr. Coleman’s report as well as “all apparatuses, products, devices,

   processes, methods, acts, or other instrumentalities that are similar to the above-named Accused

   Instrumentalities.” Id. Ultravision further noted that “[g]iven the non-public nature of the

   Accused Instrumentalities in this action, Ultravision expects to receive discovery from Defendant

   regarding such products.” See Dkt 124-1. See Ex. A at 3. As seen from the claim charts attached

   as appendices to Ultravision’s contentions, each of the products charted are representative of

   the “unaccused” products now at issue. See Ex. C (Yaham High Mast Lights chart), Ex. D

   (Flood Light chart) and Ex. E (Street Light chart). For example, with respect to high mast

   lighting, Ultravision accused “all high mast lighting that Yaham made, used, imported, offered

   for sale, and/or sold in the United States, including Yaham’s Compact S, Lumiway 3, and Tri

   LED high mast light, including all model numbers thereof. Upon information and belief, this

   high mast lighting is representative of other Yaham LED lighting, including the Linear I and II

   LED high bay lights,



                                                        Id.

          Yaham’s eventual production of documents and marketing material regarding those

   products is further proof that they understood that those products were accused.2 See Ex. F at 14-

   17 and Ex. G (First Supp responses and second supp to first). Yaham therefore, was aware that

   the allegedly unidentified products were in the case.


   2
     See also YAHAM-LT00002974-TRANSLATION,YAHAM-LT-00041717, YAHAM-LT-
   00041759, YAHAM-LT-00041794, YAHAM-LT-00024084, YAHAM-LT-00024090, YAHAM-
   LT-00024096, YAHAM-LT-00024102, YAHAM-LT-00024116, YAHAM-LT-00000094,
   YAHAM-LT-00000108, consisting of photometric distributions profiles, drawings, and marketing
   materials produced by Yaham relating to the “unaccused” products.


                                                    2
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   products, in addition to those charted in the infringement contentions, that might potentially

   infringe any one or more of the asserted patents against Yaham. Ultravision served its first set of

   interrogatories on March 12, 2020 and received Yaham’s responses on November 14, 2019, 2020.

   In its first set of responses to Ultravision’s First Set of Interrogatories,



           After receiving deficient responses from Yaham throughout discovery, and requesting the

   required discovery for five months, Ultravision sent a deficiency letter to Yaham dated August 21,

   2020. See Ex. H (correspondence from D. Shea to B. Wright, dated August 21, 2020).



                                                                              In response, Yaham finally

   served its first supplemental responses to Ultravision’s First Set of Interrogatories on September

   15, 2020. See Ex. F (Yaham’s First Supplemental Responses to Ultravision’s First Set of

   Interrogatories); See also Dkt 110 at 3.

           In those supplemental responses, Yaham



                                  Yaham also failed to provide any detailed or technical information

   from which one could determine infringement throughout discovery. Rather,




                                                                   even though Ultravision had already

   made it clear these were accused products. Yaham still failed to provide the required responses




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   addressing the technical features of these products even as to how they are non-infringing

   alternatives. See, Ex. G at 22. These Yaham products are not publicly available for inspection or

   purchase and, therefore, without receiving the relevant information about the products from

   Yaham, Ultravision had no ability to investigate these products to determine whether they met the

   claims of the asserted patents. Yaham never agreed to produce its products for inspection by

   Ultravision’s expert witness, and no explanation was given for the failure to produce these

   products. Dr. Coleman and Mr. Dell’s expert reports (“the Expert Reports”) were served on

   October 19, 2020, less than four weeks from Ultravision’s receipt of new discovery relating to the

   additional products. The Court’s Report and Recommendation on claim construction was entered

   on October 26, 2020.

          LEGAL STANDARDS

          Local Patent Rule 3-6(b) provides that amendment of infringement contentions may be

   made later than 30 days after service by the Court of its Claim Construction Ruling, “only by order

   of the Court, which shall be entered only upon a showing of good cause.” The Court has broad

   discretion to allow amendments to infringement contentions and looks to four factors in ruling on

   motions to do so. Alexsam, Inc. v. IDT Corp. No. 2:07-CV-420-CE, 2011 WL 108725 at *1 (E.D.

   Tex. Jan. 12, 2011) (The good cause standard requires the party seeking relief to show that, despite

   its exercise of diligence, it cannot reasonably meet the scheduling deadlines.); Keranos, LLC v.

   Silicon Storage Tech., Inc., 797 F.3d 1025, 1035 (Fed. Cir. 2015) In Alexsam, the Court applied

   the law of the 5th Circuit in determining whether good cause had been shown with respect to

   failures to meet discretionary deadlines established by the district court. Specifically, the Court

   looked to a four factor test to determine whether “good cause” had been established: (1) the

   explanation for the failure to timely move for leave to amend; (2) the importance of the

   amendment; (3) potential prejudice in allowing the amendment; and (4) the availability of a


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   continuance to cure such prejudice. Alexsam, 2011 WL 108725 at 1. See also, S & W Enters.,

   L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 536 (5th Cir. 2003); KAIST IP US LLC v.

   Samsung Elecs. Co., Ltd., No. 2:16-CV-01314-JRG-RSP, 2018 WL 1806765 at *2 (E.D. Tex. Apr.

   17, 2018). Good cause requires “diligence in discovering the additional products and in seeking to

   amend.” Keranos, 797 F.3d at 1035. This Court has held that diligence is an important, though

   non-determinative, factor in evaluating the explanation for failure to timely move for leave to

   amend. Id. at *2. This Court has also held that the scope of infringement contentions and an expert

   report are not coextensive. Roy-G Biv Corp. v. ABB, Ltd., 63 F.Supp.3d 690, 699 (E.D. Tex. 2014).

          ARGUMENT

          A.      Yaham’s Significant Delay in Discovery Caused The Alleged Untimeliness

          Ultravision made it clear that it was accusing products beyond those specifically charted in

   its P.R. 3-1 Infringement Contentions. See Ex. A at 3. The products identified in Ultravision’s

   infringement contentions are representative of all products at issue now.4 See Ex. C (Appendix 5

   to Ultravision’s Preliminary Contentions Yaham High Mast Lights). Ultravision's Infringement

   Contentions were sufficient to put Yaham on notice that Ultravision intended to accuse more than

   just the specific models provided within the claim charts. Orion IP, LLC v. Staples, Inc., 407 F.

   Supp. 2d 815, 817–18 (E.D. Tex. 2006) (“A defendant cannot lay behind the log until late in the

   case and then claim it lacks notice as to the scope of the case or the infringement contentions”).

   Yaham had a responsibility to make sure it fully understood the nature of plaintiff’s allegations.

   Id. Yaham knew, or should have known this, and could have easily sought clarification either




   4
    For example, the products charted on the high mast chart are representative of all Yaham high
   mast lights. Ex. B at ¶135.


                                                   6
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          Yaham’s publicly available information on its webpages does not contain the type of

   internal information required for Ultravision to know certain product variants exist.6 Further,

   Ultravision’s ability to identify potentially infringing products via public information does not

   excuse Yaham’s failure to produce discovery. Polaris, 2:17-cv-00715-JRG, Dkt. 285 at 7. See

   Gomez v. Ford Motor Company., No. SA-15-CA-00866-DAE, 2017 WL 5178043, at *7 (W.D.

   Tex. June, 7, 2017); Abrahamsen v. Trans-State Express, Inc., 92 F.3d 425, 428 (6th Cir. 1996)

   (“The rules of discovery . . . do not permit parties to withhold material simply because the

   opponent could discover it on his or her own.”).

          Ultravision’s level of required diligence is not required to be so high as to diminish

   Yaham’s own duty to include all of these products in its discovery responses from the outset. This

   Yaham failed to do. Keranos,, 2018 WL 574867, at *2 (“[d]iligence is a factor, but it is not a

   threshold requirement that must be evaluated in a vacuum”); Polaris, 2:17-cv-00715-JRG, Dkt.

   285 at 6; Fed. R. Civ. P. 26(e)(1)(A). By failing to produce samples of all of these products, Yaham

   actively prevented Ultravision from gathering all of the information it was entitled to receive to

   make an informed infringement determination. Accordingly, this factor weighs against striking Dr.

   Coleman’s and Mr. Dell’s opinions.

          B.      The “Newly Accused Products” Are Important

          In determining the importance of not excluding the products at issue, the Court need not

   “analyze the strength of Plaintiffs infringement contentions as part of the good cause

   determination.” Cell and Network Selection LLC v. AT&T Inc., No. 6:13-CV-403, 2014 WL

   10727108 at *3 (E.D. Tex. Nov. 2014). However, the importance of allowing the inclusion of these



   6
     E.g., Ultravision would not have known from Yaham’s public web pages that the Tri Series also
   included a street light since the Tri series is marketed as a floodlight.


                                                      8
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   additional products to the case at the end of discovery is critical to the analysis. Stragent, LLC v.

   Freescale Semiconductor, Inc. No. 6:10cv224 LED-JDL, 2011 WL 13227699, at *2 (E.D. Tex.

   July 14, 2011); Mediostream, 2010 WL 4118589, at *2 (denying leave to amend infringement

   contentions to add information obtained during discovery would prevent the plaintiff from

   pursuing its case and asserting its patents.). Granting the motion to strike these products from the

   expert reports would result in the dismissal of a substantial portion of the case and force Ultravision

   to file another action against Yaham capturing these products. The motion to strike is tantamount

   to a dispositive motion. If these portions of the expert reports were stricken “[Ultravision] would

   be unable to accuse the new products of infringement.” Mass Engineered Design, Inc. v. Ergotron.

   Inc., No. 2:06-CV-272, 2008 WL 1930299, at *3 (E.D. Tex. Apr. 30, 2008).

            C.     Yaham Will Not Be Prejudiced

            Yaham was not prejudiced by “not definitively knowing whether the [14] additional

   products in [the Expert Reports] were in or out of the case.” Dkt. 123 at 7. The similarity of the

   additional products to the already accused products also reduced or eliminated any possible

   prejudice to Yaham. Honeywell Int’l, Inc. v. Acer Am. Corp., 655 F.Supp. 2d 650, 657 (E.D. Tex.

   Feb. 2009) (“[the] products likely operate in a manner reasonably similar to the infringement

   theory described in Honeywell’s PICs”). See Ex. B at p. 41-42. Yaham shows no evidence that

   Yaham’s claim construction arguments would have differed had they known the products were

   included at an earlier date. Yaham does not contend that any new claims would have to be

   construed or construed differently as a result of the inclusion in the case of these products. The

   expert reports were served before the claim construction order7and the addition of the newly

   accused products does not change Yaham’s non-infringement theory. See, Dkt. 111; See also, Ex.


   7
       Claim Construction Order was entered on October 26, 2020.


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   B; Global Sessions LP v. Travelocity.com LP, No. 6:10cv671 LED-JDL, 2012 WL 1903903 at *3

   (E.D. Tex. May 25, 2012) (no new infringement theories to the case); Semcon IP Inc. v. ZTE Corp.,

   216CV00437JRGRSP, 2018 WL 4501808, at *3 (E.D. Tex. Feb. 28, 2018).

   Ultravision notified Yaham of the additional products through their infringement contentions,

   multiple requests for discovery on the products at issue, and correspondence, including deficiency

   letters which confirmed the accusation of such products. See Ex. H and Ex. A. Thus, there was no

   surprise and no prejudice to Yaham. Mediostream at 3. Ultravision's PICs put Yaham on notice of

   the additionally accused products. Orion IP, LLC v. Staples, Inc., 407 F. Supp. 2d 815, 817–18

   (E.D. Tex. 2006) (“[Yaham] has a responsibility to make sure they fully understand the nature of

   plaintiff’s allegations”). Yaham produced documents relating to all of the accused products and

   Dr. Coleman relied on Yaham’s production for charting and analyzing the accused products.8

   Yaham had ample time to prepare for the additional products being included in the expert reports

   because Dr. Coleman’s infringement theories did not change. See, Ex. I at ¶¶ 135 and 142. (The

   Katona Rebuttal Report). Yaham also fails to claim in its motion to strike that it would need any

   additional time to perform its own expert analysis on the additional products. See, Dkt. 123.This

   dilemma was entirely created by Yaham’s misconstruing of Ultravision’s PICs. The claimed

   prejudice was also the foreseeable result of Yaham’s own failure to comply with its discovery

   obligations. Mediostream, 2010 WL 4118589 at *3-*4 (The prejudice factor weighs in favor of

   granting leave to amend when the non-moving party produced documents slowly). While there is

   no prejudice to Yaham, there is substantial prejudice to Ultravision both on its infringement case,

   as well as its damages case. Orion IP, LLC v. Staples, Inc., 407 F. Supp. 2d 815, 817–18 (E.D.

   Tex. 2006)(“The Patent Rules intend to strike a balance of providing fair notice to defendants


   8
       See Ex. B footnotes 8 and 9 citing to Yaham production.


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   without requiring unrealistic, overly factual contentions from plaintiffs, but the burden of notice

   the Patent Rules place on plaintiffs is intended to be a shield for defendants, not a sword.”). The

   majority of Yaham’s discovery responses related to the additional products came less than four

   weeks before the close of discovery, only four weeks prior to the service of expert reports, leaving

   Ultravision no time to seek further amendment of its infringement contentions. The Local Patent

   Rules “exist to further the goal of full, timely discovery and provide all parties with adequate notice

   and information with which to litigate their cases, not to create supposed loopholes through which

   parties may practice litigation by ambush[,]” however, this is exactly what Yaham attempts to do.

   Finisar Corp. v. DirecTV Group, Inc., 424 F. Supp. 2d 896, 901 (E.D. Tex. 2006). In exercising

   its discretion, and under all of these circumstances the Court should deny the motion to strike.

          D.      No Continuance is Necessary

          Yaham does not demonstrate prejudice sufficient to necessitate a continuance. Although

   Yaham has argued that the prejudice it has allegedly suffered can only be cured by a continuance,

   Yaham has not specifically requested a continuance in its Motion. See Mediostream, 2010 WL

   4118589 at *3. (Court finds this factor weighs in favor of granting leave to amend where Microsoft

   did not seek a continuance). No reasonable explanation is offered by Yaham as to why it would

   require a continuance to prepare for trial which remains three months away. Dkt. No. 110 at 1.

   There have been no pre-trial proceedings in this case and all expert reports have been exchanged.

   Ultravision has not presented Yaham with any new theories of infringement and the additional

   Yaham products do not substantially differ from Yaham’s other products with regard to the

   accused functionalities. Polaris, 2:17-cv-00715-JRG, Dkt. 285 at 10; Honeywell, 655 F. Supp. 2d

   at 657. Because Yaham has already fully addressed Dr. Coleman and Mr. Dell’s opinions, no

   continuance is necessary.




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          E.      Allowing the Additional Yaham Products in the Case Serves Judicial Economy
                  and the Interests of the Parties

          If the additional products are not included in this case, Ultravision’s only option to

   enforce its patents against these late-discovered Yaham products would be to institute a separate

   and additional action against Yaham for infringement by these products. In a case such as this

   one, the Court should exercise its discretion to deny the instant Motion in all respects and allow

   all products to go to trial in March, 2021.

          CONCLUSION

          For all the foregoing reasons, Ultravision respectfully requests that Yaham’s Opposed

   Sealed Motion to Strike Portions of the Expert Reports of Zane Coleman and Stephen E. Dell

   Concerning Unaccused Products (Dkt. 123) be denied.

   Dated: December 14, 2020                         Respectfully submitted,

                                                     /s/ Alfred R. Fabricant
                                                    Alfred R. Fabricant
                                                    NY Bar No. 2219392
                                                    Email: afabricant@fabricantllp.com
                                                    Peter Lambrianakos
                                                    NY Bar No. 2894392
                                                    Email: plambrianakos@fabricantllp.com
                                                    Vincent J. Rubino, III
                                                    NY Bar No. 4557435
                                                    Email: vrubino@fabricantllp.com
                                                    Joseph M. Mercadante
                                                    NY Bar No. 4784930
                                                    Email: jmercadante@fabricantllp.com
                                                    Daniel J. Shea
                                                    NY Bar No. 5430558
                                                    Email: dshea@fabricantllp.com
                                                    FABRICANT LLP
                                                    230 Park Avenue, 3rd Floor W.
                                                    New York, New York 10169
                                                    Telephone: (212) 257-5797
                                                    Facsimile: (212) 257-5796

                                                    Samuel F. Baxter
                                                    Texas State Bar No. 01938000


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                                         sbaxter@mckoolsmith.com
                                         Jennifer L. Truelove
                                         Texas State Bar No. 24012906
                                         jtruelove@mckoolsmith.com
                                         MCKOOL SMITH, P.C.
                                         104 E. Houston Street, Suite 300
                                         Marshall, Texas 75670
                                         Telephone: (903) 923-9000
                                         Facsimile: (903) 923-9099

                                         ATTORNEYS FOR PLAINTIFF
                                         ULTRAVISION TECHNOLOGIES, LLC




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 14, 2020, a true and correct copy of the above and

   foregoing document has been served by email on all counsel of record.

                                              /s/ Alfred R. Fabricant
                                                 Alfred R. Fabricant
